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                                                                               USDC SDNY
UNITED STATES DISTRICT COURT                                                   DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                                  ELECTRONICALLY FILED
SHERRY GRIMES-JENKINS,                                                         DOC #: _________________
                                                                               DATE FILED: _4/5/2019__
                          Plaintiff,

                 -against-                                                      18 Civ. 1545 (AT) (RWL)

CONSOLIDATED EDISON COMPANY OF NEW
YORK, INC., & SEAN GREEN, Individually,                                                   ORDER

                Defendants.
ANALISA TORRES, District Judge:

         Plaintiff, Sherry Grimes-Jenkins, brings this action against Consolidated Edison

Company of New York, Inc. (“Con Edison”) and Sean Green, alleging twenty-four federal and

state causes of action arising out of her employment by Con Edison. Compl., ECF No. 1. Con

Edison moves to dismiss the complaint on several grounds, including that the case is duplicative

of another that is pending before the Court, and for insufficient service of process pursuant to

Federal Rule of Civil Procedure 12(b)(5). ECF No. 27. Con Edison also moves for attorneys’

fees and costs. Def. Mem. at 23, ECF No. 28. For the reasons stated below, Con Edison’s

motion to dismiss is GRANTED and its request for attorneys’ fees and costs is DENIED.

                                               BACKGROUND

    I.       Procedural History

         On June 23, 2016, Plaintiff filed an action in this district (the “First Action”) against Con

Edison, which was assigned the case number 16 Civ. 4897. First Action ECF No. 1.1 On

September 13, 2016, Plaintiff filed an amended complaint. First Action ECF No. 10. The causes

of action Plaintiff asserted were not clear, but as described in a May 22, 2017 Report &

Recommendation (“R&R”) issued by the Honorable James. C. Francis (and which is discussed


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 Documents filed in the First Action are cited as “First Action ECF No. __.” Documents filed in this action are
cited as “ECF No. __.”

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infra), Plaintiff brought claims arising out of her employment by Con Edison for:

       (1) discrimination based on race, national origin, sex, and religion under Title VII;
       the New York State Human Rights Law, N.Y. Exec. Law § 296 et seq. (the
       “NYSHRL”); and the New York City Human Rights Law, N.Y.C. Admin. Code §
       8-107 (the “NYCHRL”) . . . ; (2) quid pro quo harassment . . . ; (3) hostile work
       environment . . . ; (4) retaliation . . . ; [and others].

R&R at 3–4, First Action ECF No. 42 (footnotes omitted) (citing First Action ECF No. 10).

       On November 18, 2016, Con Edison filed a partial motion to dismiss the amended

complaint. First Action ECF No. 21. On December 23, 2016, Plaintiff filed a cross-motion to

file a second amended complaint. First Action ECF No. 27; see also First Action ECF No. 27-3

(proposed second amended complaint). The differences between the amended complaint and this

proposed second amended complaint, as described in the R&R, were as follows:

       The [p]roposed [s]econd [a]mended [c]omplaint replaces the plaintiff’s religious
       discrimination claim with a discrimination claim based on her ethnicity. It
       otherwise alleges the same causes of action as the [a]mended [c]omplaint, though
       it reorganizes the claims under different headings . . . and clarifies that the quid
       pro quo harassment, hostile work environment, and retaliation claims are each
       brought pursuant to Title VII, the NYSHRL, the NYCHRL, [and other statutes].

R&R at 5. Therefore, “[w]ith the exception of the plaintiff’s replacement of her religious

discrimination claim with an ethnicity discrimination claim,” the allegations between the

amended complaint and the proposed second amended complaint were “substantively identical.”

R&R at 9. In both pleadings, Plaintiff alleged “numerous incidents of discrimination, retaliation,

and harassment dating back to 1990.” Id.

       On May 11, 2017, the Court referred Con Edison’s motion for partial dismissal and

Plaintiff’s cross-motion to file a second amended complaint to Judge Francis for a report and

recommendation, First Action ECF No. 41, and on May 22, 2017, Judge Francis issued the R&R,

see R&R. In the R&R, Judge Francis recommended that dismissal be granted and leave to

amend be denied with respect to most of plaintiff’s claims. See id. at 46. No objections to the

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R&R were filed, and on June 22, 2017, after reviewing for clear error, the Court adopted the

R&R in its entirety. First Action, ECF No. 43. On July 20, 2017, Plaintiff filed her second

amended complaint (the “First Action SAC”). First Action SAC, First Action ECF No. 46. On

September 22, 2017, Con Edison filed an answer. First Action ECF No. 53. Litigation in the

First Action remains ongoing.

       On February 20, 2018, Plaintiff filed the complaint in this action (the “Complaint”). See

Compl. On February 28, 2018, the Court referred this action to the Honorable Robert W.

Lehrburger for general pretrial purposes. ECF No. 6. On June 12, 2018, Plaintiff filed the

Complaint again. ECF No. 7. That same day—112 days after filing the Complaint—Plaintiff

requested an issuance of summonses from the Clerk of Court. ECF No. 10. On June 14, 2018—

114 days after filing the Complaint—Plaintiff served Defendants. ECF Nos. 12–13.

       On July 30, 2018, Con Edison filed a pre-motion letter seeking leave to file a motion to

dismiss. ECF No. 22. Plaintiff did not file a response, in violation of Rule III.A.ii of the Court’s

Individual Practices in Civil Cases. On September 28, 2018, the Court set a briefing schedule on

Con Edison’s motion to dismiss, and ordered that (a) Con Edison file its motion by October 26,

2018; (b) Plaintiff file her opposition by November 9, 2018; and (c) Con Edison file its reply by

November 16, 2018. ECF No. 24. Con Edison timely filed its motion on October 26, 2018.

ECF No. 27. Plaintiff did not file her opposition on November 9, 2018. On November 13, 2018,

Judge Lehrburger issued an order stating that he had received a request from Plaintiff for an

extension of time to file her opposition via email, and directing her to instead make the request to

this Court. ECF No. 30. Plaintiff did not do so. Con Edison filed a “reply” on November 16,

2018. Def. Reply, ECF No. 31. In a declaration accompanying the reply, counsel for Con

Edison stated that counsel for Plaintiff had called him on November 13, 2018 to ask when his



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opposition was due, and stated that he had forgotten when it was due and did not have an excuse

for missing the deadline. Second Rabe Decl. ¶¶ 3–5, ECF No. 32.

        On November 28, 2018—almost three weeks after Plaintiff’s opposition was due, and

over two weeks after Judge Lehrburger ordered her to make any request for an extension to this

Court—Plaintiff filed a letter addressed to this Court. ECF No. 33. Plaintiff did not, however,

seek leave to promptly file her opposition, nor did she explain why she had failed to timely file

her opposition. See id. Instead, she requested an extension of several more weeks, on the

ground that Judge Lehrburger had scheduled a settlement conference in the First Action for

December 12, 2018, which she stated may settle both cases and render Con Edison’s motion

moot. Id. at 2.2 Plaintiff claimed that she would suffer “severe” prejudice by responding to Con

Edison’s motion before the settlement conference. Id. The Court denied Plaintiff’s request, ECF

No. 34, and Con Edison’s motion to dismiss is, therefore, unopposed.

        Notably, pursuant to Rule III.B.ii of the Court’s Individual Practices in Civil Cases,

before seeking leave from the Court to file a motion to dismiss, a defendant must send the

plaintiff a letter explaining the bases for the proposed motion. The plaintiff must respond by

letter and indicate, inter alia, “the reasons and controlling authority that support the pleadings as

filed.” The rule encourages parties to resolve pleading deficiencies without court intervention.

Although these initial letters are not ordinarily filed with the Court, Con Edison attached them to

its motion papers. First Rabe Decl. Exs. A and B, ECF Nos. 29-1 and 29-2. On July 10, 2018,

Con Edison sent Plaintiff a detailed, three-page letter setting forth the bases for its proposed

motion to dismiss, including, inter alia, that the action is duplicative of the First Action, and that




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 Neither action settled at the December 12, 2018 conference, and discovery is ongoing. See First Action ECF Nos.
80, 83.

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the complaint was not timely served. Id. Ex A. In its July 23, 2018 letter to Con Edison,

Plaintiff sent its response, which was:

         Initially, the action in 2018 (hereinafter ‘New’ action) deals with events occurring
         subsequent to the filing of the original 2016 action (hereinafter the ‘Original’
         action). The New action also alleges more in depth [sic] with regard to the
         actions of Sean Green. Thus, while the claims as to ConEd of failing to address,
         and tolerating if not encouraging - or at least turn in [sic] a blind eye - as to all
         such acts are, indeed, similar, the balance of the Complaint in the New action is
         substantially different.

Id. Ex. B. Given Plaintiff’s failure to file a response to Con Edison’s July 30, 2018 pre-motion

letter to the Court, ECF No. 22, and her refusal to timely file an opposition to Con Edison’s

motion to dismiss, these three sentences are the sole basis from which the Court can discern

Plaintiff’s argument for filing the Complaint in this action.

   II.      Similarities Between the Two Complaints

         In the Complaint, Plaintiff repeats the allegations stated in the First Action SAC.

Plaintiff appears to acknowledge as much, stating in the Complaint that “[t]he instant action is a

further manifestation of the acts complained of in the [First Action] and is a continuation of the

harassment, retaliation and unlawful employment practices complained of by Plaintiff therein,

coupled with specific and new allegations against Defendant Green specifically, and against

Defendant [Con Edison] on the basis of imputed liability.” Compl. ¶ 7.

         The causes of action overlap substantially between the two pleadings. In the Complaint,

Plaintiff brings the following claims against Con Edison: sex discrimination, hostile work

environment, harassment, and retaliation in violation of Title VII, the NYSHRL, and the

NYCHRL, as well as wrongful termination, negligent hiring, training, retention, and supervision,

and “prima facie tort.” Complaint at 25–52, 56–57. Plaintiff brings claims against Green for

assault, battery, and intentional and negligent infliction of emotional distress. Id. at 53–55, 57–



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59. As discussed, in the First Action SAC, Plaintiff brings causes of action against Con Edison

for hostile work environment and retaliation in violation of Title VII, the NYSHRL, and the

NYCHRL, as well as race discrimination and sex discrimination in violation of the NYCHRL.

First Action SAC at 27–48.

       The allegations in the Complaint are also largely identical to those in the First Action

SAC. In fact, many paragraphs of the Complaint are verbatim or almost verbatim to those in the

First Action SAC. Compare, e.g., First Action SAC ¶¶ 10–24, 32–35, 37–40, 46, 64–66, 70–76,

79, 87, 95–98, with Complaint ¶¶ 32–48, 54–71, 76, 78–82. All of the allegations in both

pleadings arise out of Plaintiff’s employment by Con Edison. In the Complaint, Plaintiff makes

a handful of allegations that were not made in the First Action Complaint. For example, Plaintiff

alleges that in September 2016, Green “slapped Plaintiff on her posterior,” and later “held [her]

down and tried to kiss [her].” Compl. ¶¶ 90–91. Plaintiff also makes a few new allegations

about other co-workers (who are not named as defendants in this action). See id. ¶¶ 83–89. She

also alleges that she was terminated on July 24, 2017. Id. ¶ 32. The vast majority of her

allegations, however, merely repeat those made in the First Action. Additionally, almost all of

the allegations in the complaint, old and new, occurred before the filing of the First Action SAC

on July 20, 2017. First Action SAC. The only exceptions are her termination four days later, on

July 24, 2017, Compl. ¶ 32, and the receipt of her right to sue letter from the Equal Employment

Opportunity Commission in November 2017, id. ¶ 19, concerning Green’s actions in September

2016, id. ¶¶ 90–93.




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         Importantly, for fifteen out of twenty-four of the claims in the Complaint, Plaintiff either

does not rely on the new allegations, or merely uses the new allegations in conjunction with

allegations already made in the First Action SAC. See generally Compl. at 25–48.3

                                               DISCUSSION

    I.      Motion to Dismiss the Complaint as Duplicative

         Con Edison moves to dismiss this action as duplicative of the First Action. Def. Mem. at

9–14.

            A. Legal Standard

         “As part of its general power to administer its docket, a district court may stay or dismiss

a suit that is duplicative of another federal court suit.” Curtis v. Citibank, N.A., 226 F.3d 133,

138 (2d Cir. 2000). A district court must “consider the equities of the situation when exercising

its discretion”; however, dismissal of the second suit is a “common disposition because plaintiffs

have no right to maintain two actions on the same subject in the same court, against the same

defendant at the same time.” Id. at 138–39. Even where additional defendants are named, a

second lawsuit is duplicative where it “involves essentially the same factual background and

legal questions as those presented in [the first] and [the new defendant’s] interests are adequately

represented by the defendants in [the first].” Lopez v. Ferguson, 361 F. App’x 225, 226 (2d Cir.

2010).




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  Plaintiff does bring some new claims based on the new allegations. For example, based on her July 24, 2017
termination, Plaintiff brings a claim for wrongful termination against Con Edison (which is not recognized as a
cause of action under New York law, Metzler v. Harris Corp., No. 00 Civ. 5847, 2001 WL 194911, at *2 (S.D.N.Y.
Feb. 26, 2001)). Compl. at 48–49. Plaintiff also brings some state law claims based only on new allegations
concerning Green. See Compl. at 53–60.

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           B. Analysis

       In Sacerdote v. New York University School of Medicine, plaintiffs had filed an earlier

action under the Employee Retirement Income Security Act of 1974 against New York

University. No. 17 Civ. 8834, 2018 WL 1054573, at *1 (S.D.N.Y. Feb. 23, 2018), appeal filed,

No. 18-1558 (2d Cir. May 21, 2018). The court granted in part and denied in part the

defendant’s motion to dismiss, and subsequently denied plaintiff’s motion to amend its

complaint. Id. Before that case went to trial, the plaintiffs filed a second action against many

defendants, all but one of whom were divisions or employees of New York University. Id. The

claims in the two cases were largely similar. Id. at *3. The court dismissed the second action

because, “[w]hile procedurally positioned as a new case, the [Complaint] is a blatant attempt to

replead an existing action.” Id. at *1.

       This case is similar to Sacerdote. As discussed, the complaint largely mirrors the First

Action SAC. As Plaintiff acknowledges, “[t]he instant action is a further manifestation of the

acts complained of in the pending litigation and is a continuation of the harassment, retaliation

and unlawful employment practices complained of by Plaintiff therein, coupled with specific and

new allegations against Defendant Green specifically, and against Defendant [Con Edison] on

the basis of imputed liability.” Compl. ¶ 7. Although there are a handful of new allegations,

most of them are premised on conduct occurring before the First Action SAC was filed, and

which, therefore, should have been asserted then. See McFarlane v. Iron Mountain Info. Servs.,

Inc., No. 17 Civ. 9739, 2018 WL 941748, at *2 (S.D.N.Y. Feb. 16, 2018) (“Plaintiffs may not

evade amendment deadlines by filing separate lawsuits that plead claims that were not timely

raised in the initial suit.”). With respect to the very few remaining allegations, Plaintiff should

have sought leave to amend the First Action SAC, and the addition of Defendant Green and a



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few new claims based on his conduct does not disturb the Court’s finding that this action is

duplicative. Here, like in Sacerdote, plaintiff is “not entitled to another bite at the apple simply

because [she] ha[s] repackaged various claims and named more specific defendants.” Sacerdote,

2018 WL 1054573 at *4.

          Accordingly, this case is DISMISSED without prejudice as duplicative of the First

Action.

    II.          Motion to Dismiss for Insufficient Service

          Con Edison also moves to dismiss the complaint pursuant to Federal Rule of Civil

Procedure 12(b)(5) for insufficient service of process.

          Pursuant to Federal Rule of Civil Procedure 4(m), “[i]f a defendant is not served within

90 days after the complaint is filed, the court[,] on motion[,] . . . must dismiss the action without

prejudice against that defendant or order that service be made within a specified time. But if the

plaintiff shows good cause for the failure, the court must extend the time for service for an

appropriate period.” Therefore, a court can grant an extension “(1) upon a showing of good

cause; or (2) within its discretion.” Brunson-Bedi v. New York (Hudson Valley DDSO), No. 15

Civ. 9790, 2018 WL 2084171, at *6 (S.D.N.Y. May 1, 2018) (citing Fed. R. Civ. P. 4(m)).

Plaintiff filed the complaint on February 20, 2018, ECF No. 1, but did not serve Defendants until

114 days later, ECF Nos. 12–13. Accordingly, Plaintiff did not make service within the time

specified in Rule 4(m).

          Plaintiff has not demonstrated good cause. Although Con Edison identified the failure to

serve as a basis for dismissal in its letter to Plaintiff, First Rabe Decl. Ex. A ¶ 4, Plaintiff did not

address this argument in her terse response, see id. Ex. B. Moreover, as discussed, Plaintiff did

not respond to Con Edison’s pre-motion letter to the Court, ECF No. 22, and refused to timely



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file an opposition to Con Edison’s motion. Because “Plaintiff has provided no excuse for her

delay,” the Court will instead “consider whether to exercise its discretion to extend Plaintiff’s

time to effect proper service.” Brunson-Bedi, 2018 WL 2084171 at *6.

       “In determining whether a discretionary extension is appropriate in the absence of good

cause, a court considers the following four factors: (1) whether any applicable statutes of

limitations would bar the action once refiled; (2) whether the defendant had actual notice of the

claims asserted in the complaint; (3) whether defendant attempted to conceal the defect in

service; and (4) whether defendant would be prejudiced by extending plaintiff’s time for

service.” DeLuca v. AccessIT Group, Inc., 695 F. Supp. 2d 54, 66 (S.D.N.Y. 2010). However,

“[t]he Second Circuit has stated clearly that even if the balance of hardships favors the plaintiff[,]

a district court may still decline to excuse a failure to timely serve the summons and complaints

where the plaintiff fails to advance some colorable excuse for neglect.” Vaher v. Town of

Orangetown, N.Y., 916 F. Supp. 2d 404, 421 (S.D.N.Y. 2013).

       With respect to the first factor, it is difficult to analyze the applicable statutes of

limitations for each of the twenty-four causes of action Plaintiff brings in her complaint.

Plaintiff alleges conduct as far back as 1991, see, e.g., Compl. ¶ 54, and does not specify the

conduct that serves as the basis of many of her claims. However, it appears that at least some

claims based on Defendant Green’s conduct would bar the action when refiled. The Equal

Employment Opportunity Commission issued a Right to Sue letter on November 20, 2017,

which stated that Plaintiff was required to file suit within ninety days. Compl. ¶ 13; id. Ex. D,

ECF No. 1-4. Additionally, “[t]here is a presumption that notice provided by a government

agency was mailed on the date shown on the notice and received three days after its mailing.”

Williams v. N.Y.C. Dep’t of Educ., No. 17 Civ. 1996, 2018 WL 4735713, at *6 (S.D.N.Y. Sept.



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29, 2018) (internal quotation marks ad citation omitted). Therefore, when Plaintiff originally

filed her complaint on February 20, 2018, ninety-two days after receiving the Right to Sue letter,

her action was timely filed, which Con Edison concedes. Def. Mem. at 15. However, if the

complaint is not served within the 90-day time period set forth in Federal Rule of Civil

Procedure 4(m), then “the governing statute of limitations again becomes applicable, and the

plaintiff must refile prior to the termination of the statute of limitations period.” Jordan v.

Forfeiture Support Assocs., 928 F. Supp. 2d 588, 599 (E.D.N.Y. 2013). As discussed, Plaintiff

did not serve the complaint on Defendants until 114 days after filing it. Accordingly, the Court

will assume that at least some claims are now time barred. This factor weighs toward Plaintiff,

but “[t]he fact that plaintiff’s claims may be time-barred does not require us to exercise our

discretion in favor of plaintiff.” E. Refractories Co. v. Forty Eight Insulations, Inc., 187 F.R.D.

503, 506 (S.D.N.Y. 1999).

        With respect to the second factor, it is unclear whether Con Edison had actual notice of

the complaint in this action, although the Court assumes that it did, because the Court accepted

this case as related to the First Action—in which Con Edison had appeared and was actively

litigating—on February 28, 2018. See 2/28/2018 ECF Entry. However, there is no reason to

believe that Green—who is not a party to the First Action—had actual notice of the claims. This

factor is thus neutral.

        With respect to the third factor, although Plaintiff filed the complaint on February 20,

2018, ECF No. 1, she refiled the exact same complaint (still dated February 20, 2018) on June

12, 2018, ECF No. 7, and requested an issuance of summonses from the Clerk of Court that same




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day, ECF No. 10. It is reasonable to conclude from this action that she was attempting to

impermissibly restart the clock and conceal her defect in service. This weighs against Plaintiff.4

           With respect to the fourth factor, “the Court acknowledges the possibility of prejudice

insofar as extending the service period beyond the statute of limitations period for the action

imposes a corresponding prejudice on defendants.” Cassano v. Altshuler, 186 F. Supp. 3d 318,

323 (S.D.N.Y. 2016) (internal quotation marks, citation, and footnote omitted). This weighs

against Plaintiff.

           Accordingly, these factors mostly weigh against Plaintiff, and in light of her failure “to

advance some colorable excuse for neglect,” Vaher, 916 F. Supp. 2d at 421, the Court declines to

exercise its discretion to grant an extension. Accordingly, the complaint is also dismissed

without prejudice on the ground that Plaintiff failed to timely serve Defendants pursuant to

Federal Rule of Civil Procedure 4(m).

    III.          Attorneys’ Fees and Costs

           Con Edison requests that the Court grant it attorneys’ fees and costs for preparing its

motion pursuant to 28 U.S.C. § 1927 and the court’s inherent power to issue sanctions. Def.

Mem. at 23–24. In awarding attorneys’ fees for these reasons, “[i]n this Circuit, courts require

clear evidence that that the challenged actions are entirely without color, and are taken for

reasons of harassment or delay or for other improper purposes.” Shim-Larkin v. City of New

York, 16 Civ. 6099, 2018 WL 4636839, at *1 (S.D.N.Y. Sept. 27, 2018).

           Con Edison’s main argument for attorneys’ fees and costs is that Plaintiff’s failure to

comply with the Court’s Individual Practices in Civil Cases, which require the exchange of pre-


4
 The Court acknowledges that on February 21, 2018—the day after filing the Complaint—the Clerk of Court
directed Plaintiff to refile the complaint due to various errors she made while opening the case on the CM/ECF
system. See 2/21/2018 ECF Entries. This does not explain, however, why Plaintiff failed to refile the complaint for
almost four months.

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motion letters to dismiss, resulted in unnecessary motion practice. Def. Mem. at 23–24. To be

sure, the filing of this action was meritless and the actions of Plaintiff and her counsel in this

case have involved blatant disregard of the Court’s orders and its Individual Practices. However,

although it is a close question, the Court concludes that Plaintiff’s failure to prosecute her case

does not constitute “clear evidence” that her actions are attributable to “harassment or delay or []

other improper purposes.” Shim-Larkin, 2018 WL 4636839 at *1. Accordingly, the Court

declines to award Con Edison attorneys’ fees and costs.

   IV.          Claims Against Defendant Green

         Green has not appeared in this action, and the motion to dismiss was brought only by Con

Edison. However, because Plaintiff’s claims against Green suffer from the same deficiencies as

those brought against Con Edison, the Court treats the instant motion to dismiss as if it was

brought on behalf of all defendants. See Virtual Dates, Inc. v. Afternic.com, Inc., No. 01 Civ.

4023, 2001 WL 1646451, at *2 (S.D.N.Y. Dec. 20, 2001) (dismissing claims against defendant

who did not join in other defendants’ motion to dismiss because “precisely the same points

control the claims against it”); see also Le Bouteiller v. Bank of New York Mellon, No. 14 Civ.

6013, 2015 WL 5334269, at *11 n.6 (S.D.N.Y. Sept. 11, 2015) (dismissing sua sponte the claims

against non-moving defendant for failure to state a claim where “the rulings in this opinion

would apply with equal force to [that defendant]”). Accordingly, all claims against Green are

DISMISSED.

                                          CONCLUSION

         For the reasons stated above, Con Edison’s motion to dismiss is GRANTED, and its

request for attorneys’ fees and costs is DENIED. In addition, all claims against Green are




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DISMISSED. The Clerk of Court is directed to terminate the motion at ECF No. 27 and close

the case.

       SO ORDERED.

Dated: April 5, 2019
       New York, New York




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